IN THE UNITED STATES DISTRICT COURT MIDDLE DISTRICT OF TENNESSEE,

NASHVILLE DIVISION
JOHN RUFFINO and MARTHA RUFFINO,
Husband and Wife,
Plaintiffs, Civil Action No.:

Vv.

)
)
)
)
)
)
DR. CLARK ARCHER and HCA HEALTH __)
SERVICES OF TENNESSEE D/B/A )
STONECREST MEDICAL CENTER, )
)
)

Defendants.

CERTIFICATE OF GOOD FAITH

A. In accordance with T.C.A. § 29-26-122, I hereby state the following: (Check item
1 or 2 below and sign your name beneath the item you have checked, verifying the
information you have checked. Failure to check item 1 or 2 and/or not signing item 1 or
2 willfnake this case subject to dismissal with prejudice.)

1. Counsel for the Plaintiffs consulted with one (1) or more experts
who have provided a signed written statement confirming that upon
information and belief they:

(A) Are competent under § 29-26-115 to express opinion(s) in the
case; and

(B) Believe, based on the information available from the medical
records concerning the care and treatment of the Plaintiff for the
incident(s) at issue, that there is a good faith basis to maintain the

action consistent with the requirements of §29-26-115.
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Signafure of Pai ffs if not represented, or Signature
of Plaintiffs’ Covhsel

EXHIBIT
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2. Counsel for the Plaintiffs consulted with one (1) or more experts
who have provided a signed written statement confirming that upon
information and belief they:

(A) Are competent under § 29-26-115 to express opinion(s) in the
case; and

(B) Believe, based on the information available from the medical
records reviewed concerning the care and treatment of the Plaintiff
for the incident(s) at issue and, as appropriate, information from the
Plaintiffs or others with knowledge of the incident(s) at issue, that
there are facts material to the resolution of the case that cannot be
reasonably ascertained from the medical records or information
reasonably available to the Plaintiffs or Plaintiffs’ counsel; and that
despite the absence of this information there is a good faith basis for
maintaining the action as to each Defendant consistent with the
requirements of § 29-26-115. Refusal of the Defendant to release
the medical records in a timely fashion, or where it is impossible for
the Plaintiffs to obtain the medical records waives the requirement
that the expert review the medical records prior to expert
certification.

Signature of Plaintiffs if not represented, or Signature of
Plaintiffs’ Counsel

B. You MUST complete the information below and sign:

I have been found in violation of T.C.A. §29-26-122 O prior times. (Insert number
of prior violations by you.)

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of Person Executing This Document Date ! v
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